                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                  HARRISONBURG DIVISION


  JOHN DOE 4, by and through his next friend,
  NELSON LOPEZ, on behalf of himself and all
  persons similarly situated,                         Civil No. 5:17-cv-0097
                                                      Judge Elizabeth K. Dillon
                 Plaintiffs,
                                                      Jury Trial Demanded
  v.

  SHENANDOAH VALLEY JUVENILE
  CENTER COMMISSION,

                 Defendant.


                    SECOND AMENDED CLASS ACTION COMPLAINT

                                         INTRODUCTION

 1.    Plaintiff John Doe 4 (“Doe 4” or “Plaintiff”) and members of the class he seeks to represent

       are Latino immigrant youths who are, or may in the future be, confined to the Shenandoah

       Valley Juvenile Center (“SVJC”).        There are approximately 24 - 30 unaccompanied

       immigrant minors under detention in the facility at any given time. Doe 4 and members of

       the class he seeks to represent are confined solely because they crossed the United States

       border seeking to escape violence in Mexico and Central America without proper

       authorization and the Office of Refugee Resettlement of the U.S. Department of Health and

       Human Services (“ORR”) has determined to detain them. Doe 4 and other similarly situated

       young people detained at SVJC are subjected to unconstitutional conditions that shock the

       conscience, including violence by staff, abusive and excessive use of seclusion and restraints,

       and the denial of necessary mental health care. As a result of this treatment, Doe 4 and other

       youths have engaged in significant and often continuous self-harm, to which SVJC staff and

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      counselors have responded with callous indifference. These violations reflect a disorganized,

      untrained, and understaffed facility that houses immigrant children in brutal, inhumane

      conditions.

 2.   This is a civil action pursuant to 42 U.S.C. § 1983 to vindicate the rights of immigrant youth

      detained at SVJC under the Fifth and Fourteenth Amendments to the United States

      Constitution. Doe 4 represents a class of immigrant children who have suffered verbal and

      physical abuse by SVJC staff; received constitutionally inadequate mental health care; and

      been subjected to inappropriate confinement and seclusion while detained at SVJC.

 3.   On behalf of himself and all similarly situated immigrant children, Doe 4 seeks declaratory,

      preliminary, and permanent injunctive relief requiring that Defendant cease its

      unconstitutional policies and practices at SVJC and provide class members with the standard

      of care and conditions of confinement mandated by the United States Constitution.

 4.   These problems are not unique to SVJC, but are part of a growing and alarming national

      trend of punitive, racially discriminatory conditions of confinement and systematic

      indifference to the suffering of immigrant detainees, who often fare worse in civil detention

      than those serving criminal sentences.1

 5.   Immigrant detainees are regularly subjected to poor sanitation, substandard medical and

      mental health care, excessive use of solitary confinement, and other conditions that too often

      result in senseless, preventable suffering and in some cases, deaths.




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   See, e.g., Conditions of Confinement in Immigration Detention Facilities, ACLU, June 27,
 2007, https://www.aclu.org/sites/default/files/field_document/unsr_briefing_materials.pdf;
 Systemic Indifference: Dangerous & Substandard Medical Care in US Immigration Detention,
 HUMAN RIGHTS WATCH, May 8, 2017, https://www.hrw.org/report/2017/05/08/systemic-
 indifference/dangerous-substandard-medical-care-us-immigration-detention.
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                                                 PARTIES

                                        Plaintiff John Doe 4

 6.    Doe 4 is a 17-year-old native and citizen of Honduras.

 7.    Doe 4 left Honduras to escape a gang that threatened his life if he did not join the gang. In

       fear for his life and safety, he fled to Guatemala and then Mexico, and he entered the United

       States to seek protection as a refugee.

 8.    Doe 4 arrived in the United States on or about May 15, 2017. He was apprehended by

       Immigration and Customs Enforcement (“ICE”) officers at the Mexican border and, upon

       information and belief, was determined to be an Unaccompanied Alien Child (“UAC”). He

       was placed in a shelter in Tucson, Arizona for approximately one month.

 9.    From Tucson, Doe 4 was transferred to a detention facility in New York, where he spent

       approximately 7-8 months.

 10.   Doe 4 was subsequently transferred to SVJC on or about December 1, 2017. He was not

       initially informed of the reason for his transfer, but was later told that he was moved because

       he was considered a flight risk. Doe 4 has never attempted to escape from detention. He

       was also informed that he was moved because he did not respect staff at the prior facility.

 11.   Doe 4 is currently detained at SVJC. On behalf of himself and all similarly situated

       immigrant children, he brings this action by and through Nelson Lopez, his next friend.

 12.   Mr. Lopez has met with Doe 4, and Doe 4 consents to Mr. Lopez serving as his next friend.

 13.   Nelson Lopez is an adult resident of Virginia. He brings this action for the benefit of Doe 4

       and the class of immigrant detainees Doe 4 seeks to represent.

 14.   Mr. Lopez is well-suited to serve in this role. He is currently self-employed and engaged as

       a community advocate at a Northern Virginia social justice organization that he co-founded.



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       He previously worked as a paralegal at an immigration legal services organization for

       approximately three years. In that capacity, Mr. Lopez frequently visited detained immigrant

       adults and children to educate them about their legal rights and assist them in navigating the

       immigration legal system.

 15.   Upon information and belief, the majority of the immigrant detainees in the class, most of

       whom have arrived from Mexico and Central America, have experienced psychological

       trauma before arriving at SVJC. They have been severely traumatized by violence they have

       experienced, witnessed or with which they have been threatened, in their home countries and

       during their journeys to the United States.

 16.   When ORR staff at other facilities are faced with behaviors of immigrant youth detainees

       which they perceive to be threatening or violent, they may arrange for the transfer of those

       immigrant youth to SVJC, because it is a “secure” facility. Those behaviors, however, are

       generally the direct result of untreated mental illness resulting from trauma experienced by

       the youth in, or during the process of fleeing from, their home countries.

 17.   As is the case with other SVJC detainees, Doe 4, upon information and belief, was not

       provided in his previous placements in ORR facilities the necessary services – including, but

       not limited to, appropriate mental health care – to allow him to live in a community setting,

       despite ORR’s obligations under federal law to ensure that unaccompanied minors “be

       promptly placed in the least restrictive setting that is in the best interest of the child.” 8

       U.S.C. § 1232(c)(2)(A).

 18.   Doe 4’s plight echoes the stories of the many immigrant youth who have been or are now




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       detained at SVJC.2 These children uniformly describe SVJC as a facility where immigrant

       youth languish without necessary mental health services, are regularly verbally and

       physically abused, harassed, and taunted by staff, and are subjected to harsh, disproportionate

       discipline for behavioral issues that are in many cases directly provoked by the abusive

       treatment they receive. These conditions violate the constitutional rights of Doe 4 and all

       similarly situated immigrant children, all of whom are entitled, to the extent they are properly

       detained at all, to reasonably safe and sanitary conditions of confinement and protection from

       harm.

                   Defendant Shenandoah Valley Juvenile Center Commission

 19.   Defendant    Shenandoah      Valley    Juvenile   Center    Commission      (“Defendant”     or

       “Commission”) is a commission composed of members from seven jurisdictions in the

       Shenandoah Valley, including the Cities of Harrisonburg, Lexington, Staunton and

       Waynesboro, and the Counties of Rockingham, Augusta, and Rockbridge. The Commission

       owns and operates SVJC, a secure residential detention facility in Staunton, Virginia, for use

       by each of the member jurisdictions.

 20.   The Commission is a public body corporate pursuant to Va. Code § 16.1-315.

                                  JURISDICTION AND VENUE

 21.   Plaintiff’s causes of action arise under the Fifth and Fourteenth Amendments to the United

       States Constitution and 42 U.S.C. § 1983.

 22.   Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331.




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   Those prior detainees include John Does 1, 2 and 3, who served as named Plaintiffs in this
 lawsuit for a period of time and attested to the inhumane conditions at SVJC. See, e.g.,
 Plaintiffs’ (First) Amended Complaint, ECF Doc. 22; Exhibits 1-3 filed in support of Plaintiffs’
 Motion for Preliminary Injunction, ECF Docs. 34-1, 34-2, 34-3.
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 23.   Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) because all or a substantial part

       of the events or omissions giving rise to this action occurred in this District.

                                     STATEMENT OF FACTS

                                    General Conditions at SVJC

 24.   SVJC holds an approximate average daily population of 40 youth between the ages of 10 and

       17 years.   This includes both UACs and United States citizen youth who have been

       adjudicated as juvenile delinquents.

 25.   ORR, the division of the U.S. Department of Health and Human Services directly responsible

       for the care and custody of unaccompanied immigrant minors, has contracted with the

       Commission to house children whom ORR determines are UACs and require detention in

       secured conditions due to the risk of harm these UACs purportedly pose to themselves or

       others.

 26.   SVJC is currently one of only three secure facilities in the country that house detained UACs.

 27.   ORR’s explanation for its decision to place a child in a secure facility must be made in writing

       and made available to the child. Its evaluations in this regard are to be revisited at regular

       intervals. Upon information and belief, ORR consistently fails to fulfill these obligations,

       and many of the members of the class that Plaintiff seeks to represent, including himself,

       have little to no understanding as to why they have been placed at SVJC.

 28.   SVJC is, both structurally and functionally, a prison. Children are not permitted to freely

       move about the facility and they are locked in their rooms for approximately 12-14 hours per

       day, including before and after meals; during staff breaks; and after 9:30 in the evening.

 29.   The children are fed substandard meals that contain too few calories and are often served

       cold or are accompanied by spoiled milk. They consistently remain hungry after meals



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       because they receive too little to eat.

 30.   Each child is assigned to a room with a mattress, a sink, and a toilet. There is no wall or

       divider enclosing the bathroom area, so the staff can see the children use the toilet through

       the window in the door to their room.

 31.   Some children have sought privacy by placing paper over this window to obscure the view

       from outside the room, but the staff have removed any such covering. One youth reported

       that, when he attempted to place paper over the window to his room for privacy, staff

       swarmed into his room with plastic shields and assaulted him. From the window, staff can

       and do regularly observe youth. Youth report being watched when they use the toilet.

 32.   Each room is in a “pod,” which is a cluster of approximately ten rooms with a shared common

       area.

 33.   In the common area of each pod, there are metal tables and chairs that are bolted to the floors.

 34.   The immigrant children detained at SVJC are grossly under-stimulated. Although they

       receive a few hours of classroom instruction per day, much of it is either inaccessible, as the

       instruction is not consistently provided in the children’s native language, is significantly

       below grade level and/or is repetitious. The facility does not meaningfully assess educational

       proficiency to determine the level of instruction that each resident should receive.

 35.   The children are given limited recreation time per day, which is either spent in a small

       gymnasium or, less frequently and only recently, in a small outdoor area that is fenced in

       with barbed wire. The children’s remaining free time is spent locked in their pods, where

       the only activities they are regularly permitted are reading or playing cards with incomplete

       decks.

 36.   In the evening, the children are permitted to watch a limited amount of television, but the



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       staff members control the TV and the children are not allowed to touch it.

 37.   There is a point system in place to reward children for good behavior and punish them for

       bad behavior. The children are required to use points if they want to have access to personal

       hygiene items such as toothpaste and soap.

 38.   Points are taken away by SVJC staff from detained UACs for such purported “offenses” as

       asking the time of day; declining to read a book during the children’s designated “free time”;

       giving their food to a friend; neglecting to raise their hand in class; moving the location of

       the TV in their pod to see it better; walking in the hallways with their hands down at their

       sides rather than behind their backs; and throwing a ball that hits the ceiling in the gym. If a

       child loses two points in a day, the child will be placed on “restriction,” which amounts to

       solitary confinement in his room.

                    Race and National Origin Discrimination by SVJC Staff

 39.   The majority of SVJC staff members are Caucasian and, despite the express requirements of

       SVJC’s contract with ORR, do not speak Spanish.

 40.   SVJC staff routinely insult, taunt, and harass the immigrant youth detained at the facility

       based on their language, race, and/or national origin.

 41.   Doe 4 has had staff members insult him and has heard them insult other immigrant detainees.

       Staff have taunted Doe 4 by calling him “criminal”, “pig”, and “nothing more than an

       immigrant.” They have told him that the only way for the immigrant children to leave SVJC

       is to be deported. He has heard staff say that the immigrant children are “living off of the

       government,” that they have come to the United States to steal jobs, that they do not deserve

       to be in this country, and that they have no right to anything because of their immigration

       status and national origin.



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 42.   Youth report staff calling them “delinquents,” “gangsters,” and “defective.” One child was

       called a “Mexican monkey”; another was told by a guard that “dark people bother me.”

       Others have been called names such as “pendejo” (or “idiot” in Spanish) and “onion head”.

 43.   Youth who understand English have heard staff insult the immigrant children and call the

       children stupid for failing to understand the staff’s English insults. When these youth

       translate the insults into Spanish so the other children can understand what is being said about

       them, staff members become angry and take away points.

 44.   Staff also have frequently refused to allow the immigrant children to watch Spanish-language

       programming on the communal television in their pods, making dismissive comments such

       as they “don’t care” that the children are Latino and cannot understand an English television

       show.

 45.   SVJC staff also exert their control in a way that is intended to demean and humiliate the

       children. Doe 4 and other detainees have reported being stripped of their clothes, including,

       at times, even their underwear, while restricted to their rooms in solitary confinement as a

       form of punishment. There is no legitimate penological or detention-related justification for

       this kind of treatment.

 46.   SVJC staff also subject the immigrant youth to disparate discipline, doling out harsher

       punishments to the immigrant youth than to local juvenile offenders, the majority of whom

       are Caucasian and were born in the U.S, who have engaged in the same or considerably worse

       behavior.

 47.   On one occasion, an immigrant youth and a juvenile offender got into a fight after the juvenile

       offender had taunted the immigrant youth and told him that he “hate[d] Latinos”. When

       SVJC staff intervened to break up the fight, the immigrant youth was grabbed and thrown



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        forcefully to the ground, but the juvenile offender was merely held by the arms and pulled

        away. Thereafter, the immigrant youth was restrained, strapped to a chair, and hit several

        times by staff members while restrained. The immigrant youth was required to remain

        strapped to the chair, in his room, for four hours. This restraint served no security or

        penological purpose and was legally impermissible punishment.

  48.   Despite the fact that local detainees have been adjudicated as juvenile delinquents, while the

        immigrant youth residing at SVJC have not, the local juvenile offenders are also granted

        more privileges than the immigrant youth. Upon information and belief, the local offenders

        are granted more opportunities to go outdoors and more physical freedom to move about the

        facility; they are provided with computers in their classrooms and with markers and pencils

        for drawing; and they have regular access to MP3 players for listening to music and to

        Xboxes in their pods. The local juvenile offenders have better and more comfortable

        furniture in their pods. None of these benefits are afforded to the immigrant youth.

                                     Physical Abuse by SVJC Staff

  49.   In addition to being called racially-charged names, Plaintiff and other immigrant children are

        frequently called names, such as “gay” or “faggot”, by SVJC staff, who appear outside of

        their rooms and taunt them until they receive a response.

  50.   For Plaintiff and other immigrant detainees, verbal abuse by staff triggers emotional

        responses connected to traumatic memories of past abuse that they have experienced and/or

        self-protective behaviors.

  51.   Relentless verbal abuse of the immigrant youth by SVJC staff frequently escalates into

        physical confrontations, as the frustrated children reach their breaking points and act out.

        See, e.g., Santos v. Smith, No. 5:17-cv-00020, 2017 U.S. Dist. LEXIS 83909, at *38 (W.D.



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        Va. June 1, 2017) (Dillon, J.) (noting, in ruling on a habeas petition brought by an immigrant

        youth detained at SVJC, that most of the petitioner’s significant behavioral problems had

        arisen after he had been in custody for over a year and were “likely . . . attributable in part to

        his placement at SVJC.”)

  52.   When immigrant youth lash out following the staff’s taunting, SVJC staff regularly respond

        by physically assaulting the youth, applying an excessive amount of force that goes far

        beyond what is needed to establish or regain control.

  53.   Doe 4 has been subjected to physical assault by SVJC staff.

  54.   For example, when Doe 4 once attempted to calmly speak with a staff member about an

        issue, he was ordered to his room for a time out – ostensibly a short period of time for

        “cooling off” purposes. As he tried to approach his room, staff punched him, shoved him

        into the room, and tied his hands behind his back. A staff member then pinned him against

        the wall, twisted his wrist, and continued to hit him until several staff persons fell on top of

        him. When Doe 4 protested that he could not breathe, staff told him that it was “good” he

        could not breathe.

  55.   On other occasions, Doe 4 has been restrained by more than one staff member, put into a

        restraint hold, and removed from programming for actions deemed non-compliant but which

        were not accompanied by any physical act on his part. On such occasions, Doe 4 would be

        restricted to his room – in solitary confinement – for four to eighteen hours.

  56.   Other youth report use of force against them that is grossly disproportionate to the perceived

        offense. Youth have reported staff shoving them to the floor, hitting them while they were

        on the floor and, as in the case of Doe 4, piling on top of them. Youth subjected to such

        force also report significant bruising as a result.



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  57.   Other youth have been restrained by multiple SVJC staff members at a time when the youth

        do nothing more than verbally insult them. In one such case, staff grabbed the youth’s hands

        and put them behind his back so that he could not move, using enough force to leave bruises

        on his wrists, ribs, and shoulder.

  58.   Plaintiff and other children have also been assaulted by SVJC staff while they are restrained.

        Doe 4 has been hit by staff even while he was restrained inside his room.

  59.   Youth report being slammed, face first, into the wall, as staff respond to a verbal challenge.

        They report staff stabbing them with pens.

  60.   One immigrant detainee was physically assaulted because he failed to comply with a

        directive to leave his book in his room when he went to class. Although the child had not

        exhibited any physical aggression, three SVJC staff members reacted to his refusal by

        shoving him into his room, placing handcuffs on him, and forcing him to his knees. The staff

        members removed the mattress from his room and proceeded to push the youth, face down,

        on the concrete slab where the mattress had been. When they picked him back up, his face

        red from being pushed into the concrete, they locked him in his room for 8 hours.

  61.   Other youth have been assaulted by SVJC staff while they were restrained. For example,

        one youth was removed from class after he swore at a teacher, and staff members took him

        to his room. When the youth tried to resist, staff members put handcuffs on his wrists. After

        he was in handcuffs, staff members pushed his face into the wall.

  62.   Another child was punched by SVJC staff in the chin while his hands were tied behind his

        back, leaving a bruise. He struggled to break free, and staff members pushed him to the

        ground, causing him to lose consciousness.

  63.   As these incidents illustrate, SVJC staff regularly apply force to Plaintiff and other class



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        members for no legitimate penological or detention-related purpose, maliciously and

        sadistically for the very purpose of causing them harm.

  64.   The predicate for the application of force is often manufactured by SVJC staff, as they

        intentionally provoke the youth to an aggressive reaction in order to justify physically

        assaulting them, purportedly as punishment.

  65.   The degree of force used by SVJC staff is disproportionately severe in relation to any

        reasonably perceived threat. SVJC staff routinely hit and/or push children to the ground for

        minor acts of aggression, and they assault the children after they have been restrained, when

        any threat that the children may have posed has been eliminated.

  66.   As a result of such malicious and sadistic applications of force, Plaintiff and other immigrant

        youth have sustained significant injuries, both physical and psychological.

  67.   Upon information and belief, and based on the accounts of youth who are currently held or

        were recently held at SVJC, such physical abuse is routinely inflicted on class members.

                                     Confinement and Restraints

  68.   Defendant has a policy or practice of confining the immigrant detainees to their rooms for

        lengthy periods of time and/or using handcuffs and cloth shackles on their hands and feet to

        restrain them.

  69.   Defendant utilizes lengthy confinement and the application of restraints for punitive

        purposes.

  70.   Immigrant youth are confined to their rooms for minor behavioral infractions, including

        arguing over the television, not participating in class, complaining about a headache, or

        accidentally hitting another resident or the ceiling with the ball while playing soccer.

  71.   Confinement and restraints are also used when youth fight with one another, fight with staff,



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        or engage in self-harm.

  72.   The decision to use restraints on a child for “fighting” is often made arbitrarily, and children

        have been restrained merely for being present when a fight breaks out.

  73.   Moreover, the children are restrained long after any safety or security justification for doing

        so has expired.

  74.   On one occasion, Doe 4 had an altercation with a staff member. Multiple staff members

        grabbed his fingers, pulled them back painfully, and placed his knees on the ground before

        falling on top of him and throwing him to the ground. After placing his hands and feet in

        shackles, staff members grabbed him by the torso and put him in his cell. Doe 4 was kept in

        these restraints for an entire day inside his room, during which he was forced to lie face down

        on the floor with no mattress and with no other clothing but his boxers.

  75.   One youth was once forced to wear handcuffs on his wrists and shackles on his feet for

        approximately 10 days in a row after an altercation with a staff member. The staff member

        entered the youth’s room without his consent and provoked an altercation with the child

        during which the staff member hit the youth and the youth bit the staff member. Thereafter,

        the staff member beat the youth, leaving him with bruises on his neck and arms.

        Subsequently, the youth was placed in the restraints.

  76.   Another youth was forced to wear handcuffs on his wrists and shackles on his feet several

        times while he has been restrained in his room.

  77.   During the time that a child is forced to wear the restraints, they are removed only while he

        sleeps or eats alone in his room.

  78.   Plaintiff and other children have suffered serious physical and emotional harm from

        Defendant’s use of restraints. The restraints are very tight, often leaving bruises and cuts on



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        the children’s wrists after they have been taken off. When the use of handcuffs on Doe 4 cut

        off his circulation, leaving bruises and hurting his wrists, he asked for medicine. Staff told

        him they would bring him medicine, but they never did.

  79.   Other children have complained about pain caused by excessively tight handcuffs and have

        shown injuries to SVJC staff and to ORR’s on-site representatives, but no action to remedy

        the practice has been implemented.

  80.   Plaintiff and other children have also been confined to their rooms for 24 hours or more at a

        time. On some occasions the children are stripped of their clothes, including their underwear,

        during such lengthy periods of confinement.

  81.   Doe 4 was once confined to his room for three days following an altercation with a staff

        member. The first day of restriction, Doe 4 was kept in restraints and left in his boxer shorts.

        Late in the second day, staff removed the restraints and gave him a blanket. During these

        days in isolation, he was not provided adequate meals and remained very hungry. On the

        third day, when he was released from restriction, he was allowed to go to school, and his

        mattress, books and other belongings were returned to him.

  82.   On another occasion, Doe 4 was placed in restriction for the entire day because he took a

        notebook from his classroom to his pod to draw, without first obtaining his teacher’s

        permission. Staff told him that he was placed in restriction because he took the book without

        permission and had been disrespectful in discussing the incident.

  83.   Youth have also reported that at times, staff will escalate interactions and provoke an

        immigrant child before subsequently punishing the child, including placing the child in

        isolation. Once, when Doe 4 asked to play with the x-box in his pod, staff said no. When

        Doe 4 calmly asked why he could not play, staff threatened — and subsequently continued



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        to threaten — a time-out rather than answering his question. During this encounter, other

        staff members were called into the pod. Doe 4 became frustrated and said a bad word, which

        resulted in his being placed in restriction. On multiple occasions, he has been put in solitary

        confinement for merely saying angry words without any physical escalation, or for simply

        asking why points were taken from him.

  84.   On other occasions, when youth ask SVJC staff to be separated from other youth that are

        insulting them or attempting to provoke violence or anger, staff will ignore these requests

        and allow situations to escalate before punishing the provoked youth.

  85.   Doe 4 has been forced to wear a scratchy and suffocating thick green blanket that covers the

        entire body for three weeks whenever he was in his cell, including the time when he went to

        sleep. It is very thick and makes the wearer sweat. Staff told him he had to wear the green

        blanket because he didn’t listen and didn’t go to school.

  86.   When Doe 4 was told he had to wear the blanket, staff came and checked on him every 15

        minutes to see that he had the blanket over him. They said that they would take everything

        he had away from him if he did not keep the blanket on.

  87.   During the period of time in which he was forced to wear the blanket while in his cell, Doe

        4’s mattress was also taken away. When he complained to his case worker, he was told that

        they did not have another mattress and he would have to wait until another youth left and a

        mattress became available.

  88.   Doe 4 has also been forced to wear a special suit for one or two days when confined to his

        room. The pants and shirt of the suit are connected and underwear is worn under the suit.

        He is not sure why he had to wear the suit, but it may have been because of a time when he

        was angry, hit the wall, and hurt his arm.



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  89.   Upon information and belief, the blanket and the suit are used for children who have engaged

        in self-harm. However, youth have also reported that the green blanket is forced on them

        when they misbehave, such as if they are deemed to have demonstrated “disrespect” towards

        a teacher or hit the door of their room in frustration.

  90.   Other youth have been subjected to solitary confinement for more than a day. When placed

        in solitary confinement, staff take away the youth’s mattress, blanket, and clothes.

  91.   Immigrant youth at SVJC have also have been strapped to a restraint chair as a form of

        punishment. While the youth are in the chair, their arms, legs, and torso are strapped down,

        and a mask is sometimes placed over their head. The children are sometimes strapped to the

        chair wearing nothing but their underwear, and in some instances have been subjected to

        urinating on themselves when staff refused their pleas to be unbound so they could use the

        restroom. Youth have been strapped to the chair for several hours at a time.

  92.   Although Doe 4 has not been placed in the restraint chair during his detention at SVJC, he

        and other immigrant youth have been threatened with punishment in the chair if they

        misbehave or do not listen to staff members.

  93.   There is no legitimate penological or detention-related justification for using confinement or

        restraints in the described manner, as these measures are used long after control of the subject

        child has been secured and there is no threat of any further physical altercation. Defendant’s

        conduct is motivated by a desire to harass or humiliate the detained children in its care or to

        provoke a response that justifies the use of even further force by staff.

                                   Inadequate Mental Health Care

  94.   Defendant fails to provide minimally adequate mental health services for the immigrant

        detainees in its custody and is deliberately indifferent to their serious psychological and/or



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        medical needs.

  95.   Defendant has a policy or practice of denying Plaintiff and class members access to

        appropriate mental health treatment and counseling with licensed mental health

        professionals, in violation of well-established professional standards.

  96.   SVJC staff members are unable to recognize and properly react to the obvious needs of youth

        with known, demonstrable, serious mental health disorders and instead further taunt and

        harass the children when they exhibit signs of distress.

  97.   Youth who arrive at SVJC with diagnosed mental health conditions do not receive adequate

        or appropriate follow up care or treatment following their arrival at the facility. Their mental

        health treatment consists of meeting with a licensed professional counselor and taking

        prescribed medications.

  98.   In his meetings with his counselor, Doe 4 regularly asks to meet with a psychologist. He

        has explained that he wants to talk to a psychologist to help him deal with his anger and

        frustration. Despite his repeated requests, he has met with a psychologist only once during

        his six months at SVJC.

  99.   Staff have often refused Doe 4 access to his counselor outside of their routine schedule. For

        example, after Doe 4 was placed in restriction when he took a notebook to his pod to draw

        without first obtaining his teacher’s explicit permission, see supra at ¶ 82, he was allowed to

        go to the gym. He sat in a chair and asked to speak with his counselor to talk through his

        anger about the situation. The staff member refused and demanded that Doe 4 leave his seat.

        When Doe 4 again asked to speak to his counselor, the staff member called other staff for

        assistance and ordered them to return Doe 4 to his cell. The staff members grabbed him by

        his hands and arms, and he asked them to not touch him. The staff ignored him, grabbed his



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       hands and arms, put him in his cell, and took away all his belongings. He was then placed

       in solitary confinement for approximately seven to eight hours.

  100. Youth at SVJC frequently engage in self-harm. Self-harm includes cutting arms, wrists or

       other places on the body with objects, such as pieces of plastic or glass. It may include

       banging the head against the wall or floor. Youth, including a former Plaintiff in this action,

       have attempted suicide or expressed suicidal ideation while detained at SVJC.

  101. Youth who engage in self-harm report that they started the self-harming conduct after being

       placed in SVJC or ORR custody.

  102. Doe 4 has engaged in self-harm at SVJC. He began scratching and cutting himself after he

       arrived at SVJC. He has hit his head against the wall, and on one occasion he hit his arm

       against the wall and broke it, requiring a cast.

  103. The only response from staff to Doe 4’s self-harm was to tell him not to do it again and to

       warn him that further attempts at self-harm would result in the loss of privileges. No one

       discussed with him why he did it. He did not talk to a psychologist after incidents of self-

       harm.

  104. Doe 4 is aware that other youth engage in self harm. Some youth try to drink shampoo.

       Another youth recently was hitting his head against the wall of his room, resulting in

       bleeding, before he was subdued by staff. The youth are given bandaids for self-inflicted

       cuts.

  105. Doe 4 engaged in cutting to deal with feelings of anger and frustration. Upon information

       and belief, these are symptoms of past trauma and untreated mental health conditions, which

       are exacerbated by the conditions in the facility and the lack of meaningful treatment to which

       he and other youth are subjected by staff.



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  106. The self-harming behavior of Doe 4 and other detained youth is a manifestation of serious,

       untreated mental health need.

  107. SVJC staff are aware that immigrant youth engage in cutting and other self-harming

       behaviors. Doe 4 has reported his incidents of self-harm to his counselor on multiple

       occasions. Other youth have made similar reports.

  108. SVJC staff are deliberately indifferent to the children’s serious mental health needs, as they

       are aware of the harm that Doe 4 and others are causing themselves by cutting and other

       behaviors, and they disregard the excessive risk of future harm – namely, serious injury and

       possibly death – to the children’s health and safety if they do not receive appropriate

       treatment for these needs.

  109. SVJC staff have told youth and other staff on multiple occasions that they “don’t care” that

       the youth are cutting themselves. Other youth have similarly been told, “Kill yourself

       already,” by SVJC staff when they have learned that the youth have engaged in cutting.

  110. Rather than treat the underlying causes of this behavior, SVJC staff have punished youth for

       engaging in self-harm. Engaging in self harm is considered a “bad behavior” which is

       punishable by segregation and confinement and/or use of restraints.

  111. SVJC staff have responded to suicide attempts by removing the youth’s clothes, placing the

       youth on restriction for one or more days, and allowing them to leave their room only for

       classes.

  112. Youth have also been strapped to the restraint chair as punishment for self-harm.

  113. Upon information and belief, youth who attempted suicide received no treatment beyond that

       accorded to any other detainee – i,e., periodic visits with counselors who admonish the youth

       to “behave.”



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  114. Isolating, punishing, and failing to provide clearly-needed mental health treatment to

       children who are or may be suicidal is extremely damaging to their well-being, and violates

       well-established professional standards.

  115. Plaintiffs have been and continue to be harmed by the lack of appropriate, trauma-informed

       mental health treatment.

                                  CLASS ACTION ALLEGATIONS

  116. John Doe 4 brings this suit on his own behalf and on behalf of all UACs who are, or will in

       the future be, detained at SVJC.

  117. The class is so numerous that joinder of all members is impractical. SVJC has the capacity

       to house 63 youth at one time and approximately 24-30 immigrant youth are detained there

       currently. Further, because children remain at SVJC for varying lengths of time, and the

       population changes frequently and unpredictably, the class also includes former SVJC

       residents who may return there in the future as well as future members whose names are not

       known at this time. Fed. R. Civ. P. 23(a)(1).

  118. There are questions of law and fact common to all class members, including but not limited

       to the Defendant’s failure to protect class members from harm; the Defendant’s failure to

       provide class members with constitutionally adequate mental health care; the Defendant’s

       policy and practice of subjecting class members to inappropriate restraint and prolonged

       periods of seclusion; and the Defendant’s failure to otherwise provide class members with

       constitutionally safe and humane conditions of confinement. Fed. R. Civ. P. 23(a)(3).

  119. Because the Defendant’s policies, practices, and procedures challenged in this Second

       Amended Complaint apply with equal force to the named Plaintiff and the other members of

       the class, the claims of the named Plaintiff are typical of the class in general. Fed. R. Civ. P.



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       23(a)(3).

  120. The named Plaintiff will fairly and adequately represent the interests of the class. He

       possesses a strong personal interest in the subject matter of the lawsuit and is represented by

       experienced counsel with expertise in class action and civil rights litigation in the federal

       courts. Counsel has the legal knowledge and resources to fairly and adequately represent the

       interests of all class members in this action. Fed. R. Civ. P. 23(a)(4).

  121. The Defendant has acted or failed to act on grounds generally applicable to the class in that

       Defendant’s policies and practices in violation of the Plaintiff’s constitutional rights have

       affected all class members.      Accordingly, preliminary as well as final injunctive and

       declaratory relief is appropriate to the class as a whole. Fed. R. Civ. P. 23(b)(2).

                              NECESSITY FOR INJUNCTIVE RELIEF

  122. The Defendant has acted and continues to act in violation of the law as described above. The

       named Plaintiff and the class he seeks to represent do not have an adequate remedy at law.

       As a result of the policies, practices, acts, and omissions of the Defendant, the named

       Plaintiff, and the class he seeks to represent, have suffered serious, imminent, and irreparable

       physical, mental, and emotional injuries.

                                             COUNT I
                       Violations of the Fifth and Fourteenth Amendments
                             (42 U.S.C. § 1983 – Excessive Use of Force)

  123. Plaintiff re-alleges and incorporates by reference the allegations set forth in Paragraphs 1

       through 122 as if fully set forth herein.

  124. The Due Process Clause of the Fifth Amendment requires that civil detainees be protected

       from harm and kept physically safe and secure. This right is enforced against the States

       through the Fourteenth Amendment.



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  125. This Fifth Amendment right includes the right to be free from excessive use of force by staff.

  126. As described above, Defendant subjected Plaintiff to unnecessary and excessive force when

       Plaintiff was punched, hit, shoved, and otherwise physically assaulted by SVJC staff.

  127. Any perceived need for the application of force in each such instance in which it was applied,

       if warranted at all, dissipated at the moment control was achieved and the youth involved

       was controlled or restrained. Indeed, Plaintiff Doe 4 was repeatedly subjected to force when

       he had not engaged in physically threatening behavior toward staff that warranted the use of

       any force, much less restraint by multiple staff members.

  128. Despite the fact that Defendant achieved control, Defendant would routinely take further

       punitive action against the offending youth by, among other things, strapping them to a chair

       for hours at a time; confining them to their rooms for hours or even days, sometimes without

       clothing; or forcing them to wear handcuffs and shackles on their hands and feet for up to 10

       days at a time.

  129. Defendant wantonly engaged in this injurious conduct by applying force maliciously and

       sadistically for the very purpose of causing harm, rather than in a good faith effort to maintain

       or restore discipline, particularly in light of the minimal severity of the youths’ perceived

       infractions and, in many cases, their extensive and detailed record of mental health diagnoses.

  130. Defendant’s excessive use of force causes physical pain and suffering, mental anguish,

       emotional distress, the deterioration of Plaintiff’s and other youths’ mental health and an

       undue risk of serious injury and/or premature death.

  131. Defendant’s refusal to protect children from harm, and to otherwise keep them physically

       safe and secure and free from unconstitutional practices like excessive use of restraints and

       prolonged confinement, violates the constitutional rights of the Plaintiff and class members



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       under the Fifth and Fourteenth Amendments to the United States Constitution, as enforced

       through 42 U.S.C. § 1983.

  132. Defendant’s policies, practices, acts and/or omissions have placed or will place Doe 4 and

       the members of the class he seeks to represent at an unreasonable risk of suffering new or

       worsening serious illnesses, injuries, and harm.

  133. Unless restrained by this Court, Defendant will continue to engage in the acts and omissions

       set forth herein that deprive immigrant detainees confined at SVJC of rights, privileges, or

       immunities secured or protected by the Constitution of the United States and federal law, and

       will cause irreparable harm to these youth.

                                           COUNT II
                     Violations of the Fifth and Fourteenth Amendments
             (42 U.S.C. § 1983 – Failure to Provide Adequate Mental Health Services)

  134. Plaintiff re-alleges and incorporates by reference the allegations set forth in Paragraphs 1

       through 122 as if fully set forth herein.

  135. The Due Process Clause of the Fifth Amendment requires that all individuals who are

       detained by the State be afforded adequate medical care, including mental health care, during

       their detention. This right is enforced against the States through the Fourteenth Amendment.

  136. As described above, Defendant failed to provide necessary care and treatment for detainees’

       known and well-documented mental health conditions.

  137. In particular, Defendant denied Plaintiff and other detainees the necessary medical and

       psychological care required to treat individuals who are psychologically traumatized and/or

       have engaged in self-mutilation.

  138. Defendant engaged in this injurious conduct with deliberate indifference to Plaintiff’s and

       other detainees’ serious psychological and/or medical needs, placing these youth in



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       substantial risk of serious harm.

  139. Defendant’s deliberate indifference to Plaintiff’s and other detainees’ serious mental health

       needs has caused, and continues to cause, Doe 4 and other youth physical pain and suffering,

       mental anguish, emotional distress, the deterioration of their mental health, an undue risk of

       serious injury and/or premature death.

  140. Defendant’s policies, practices, acts and/or omissions constitute and reflect deliberate

       indifference to the serious mental health needs of the immigrant youth residing at SVJC and

       violate the Fifth and Fourteenth Amendments to the United States Constitution, as enforced

       through 42 U.S.C. § 1983.

  141. Defendant’s policies, practices, acts and/or omissions have placed or will place Doe 4 and

       the members of the class he seeks to represent at an unreasonable risk of suffering new or

       worsening serious mental illnesses, injuries, and harm.

  142. Unless restrained by this Court, Defendant will continue to engage in the acts and omissions

       set forth herein that deprive immigrant detainees confined at SVJC of rights, privileges, or

       immunities secured or protected by the Constitution of the United States and federal law, and

       will cause irreparable harm to these youth.

                             COUNT II (IN THE ALTERNATIVE)
                      Violations of the Fifth and Fourteenth Amendments
               (42 U.S.C. § 1983 – Failure to Provide Adequate Mental Health Services)

  143. Plaintiff re-alleges and incorporates by reference the allegations set forth in Paragraphs 1

       through 122 as if fully set forth herein.

  144. The Due Process Clause of the Fifth Amendment requires that all individuals who are

       detained by the State be afforded adequate medical care, including mental health care, during

       their detention. This right is enforced against the States through the Fourteenth Amendment.



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  145. As described above, Defendant failed to provide necessary care and treatment for Plaintiff’s

       and other detainees’ known and well-documented mental health conditions.

  146. In particular, Defendant denied Plaintiff and other detainees the necessary medical and

       psychological care required to treat individuals who are psychologically traumatized and/or

       have engaged in self-mutilation.

  147. By failing to provide Plaintiff and other detainees with appropriate mental health care and

       treatment, Defendant has failed to exercise appropriate professional judgment, and/or

       exercised decision-making that is such a substantial departure from accepted professional

       judgment, practice, or standards as to demonstrate that the Defendant has not actually based

       its decision-making on such a judgment.

  148. Defendant’s failure to adequately treat Plaintiff’s and other detainees’ mental health needs

       has caused, and continues to cause, physical pain and suffering, mental anguish, emotional

       distress, the deterioration of their mental health, an undue risk of serious injury and/or

       premature death.

  149. Defendant’s policies, practices, acts and/or omissions constitute a failure to exercise

       professional judgment and/or a substantial departure from accepted professional judgment,

       practice, or standards as to the appropriate treatment of the mental health needs of the

       immigrant youth residing at SVJC and violate the Fifth and Fourteenth Amendments to the

       United States Constitution, as enforced through 42 U.S.C. § 1983.

  150. Defendant’s policies, practices, acts and/or omissions have placed or will place Plaintiff Doe

       4 and the members of the class he seeks to represent at an unreasonable risk of suffering new

       or worsening serious mental health illnesses, injuries, and harm.

  151. Unless restrained by this Court, Defendant will continue to engage in the acts and omissions



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       set forth herein that deprive immigrant detainees confined at SVJC of rights, privileges, or

       immunities secured or protected by the Constitution of the United States and federal law, and

       will cause irreparable harm to these youth.

                                            COUNT III
                       Violations of the Fifth and Fourteenth Amendments
                     (42 U.S.C. § 1983 – Discrimination on the Basis of Race)

  152. Plaintiff re-alleges and incorporates by reference the allegations set forth in Paragraphs 1

       through 122 as if fully set forth herein.

  153. Plaintiff and the members of the class enjoy a Fourteenth Amendment right to due process

       under the laws, including the right to be free from discrimination on the basis of their race.

  154. Plaintiff and the members of class he seeks to represent, who are Latino, have been treated

       differently than Caucasian youth detained at the facility with whom they are otherwise

       similarly situated.

  155. Defendant’s actions towards Plaintiff and other immigrant youth indicate that such unequal

       treatment is the result of intentional or purposeful discrimination.

  156. There is no legitimate penological or detention-related interest or rational basis for subjecting

       Plaintiff and other immigrant youth to unequal treatment on the basis of their race.

  157. Due to Defendant’s arbitrary and irrational discrimination against Plaintiff and class

       members on the basis of their race, the Defendant has denied Plaintiff and other similarly

       situated youth their right to equal protection guaranteed by the Fourteenth Amendment to the

       United States Constitution, in violation of 42 U.S.C. § 1983.

  158. Unless restrained by this Court, Defendant will continue to engage in the acts and omissions

       set forth herein that deprive immigrant detainees confined at SVJC of rights, privileges, or

       immunities secured or protected by the Constitution of the United States and federal law, and



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       will cause irreparable harm to these youth.

                                             COUNT IV
                        Violations of the Fifth and Fourteenth Amendments
                 (42 U.S.C. § 1983 – Discrimination on the Basis of National Origin)

  159. Plaintiff re-alleges and incorporates by reference the allegations set forth in Paragraphs 1

       through 122 as if fully set forth herein.

  160. Plaintiff and members of the class enjoy a Fourteenth Amendment right to due process under

       the laws, including the right to be free from discrimination on the basis of their national

       origin.

  161. Plaintiff and members of the class, who are citizens of Mexico and Central America, have

       been treated differently than United States citizen youth detained at the facility with whom

       they are otherwise similarly situated.

  162. Defendant’s actions towards Plaintiff and other immigrant youth indicate that such unequal

       treatment is the result of intentional or purposeful discrimination.

  163. There is no legitimate penological or detention-related interest or rational basis for subjecting

       Plaintiff and other immigrant youth to unequal treatment on the basis of their national origin.

  164. Due to Defendant’s arbitrary and irrational discrimination against Plaintiff and class

       members on the basis of their national origin, the Defendant has denied Plaintiff and others

       similarly situated their right to equal protection guaranteed by the Fourteenth Amendment to

       the United States Constitution, in violation of 42 U.S.C. § 1983.

  165. Unless restrained by this Court, Defendant will continue to engage in the acts and omissions

       set forth herein that deprive immigrant detainees confined at SVJC of rights, privileges, or

       immunities secured or protected by the Constitution of the United States and federal law, and

       will cause irreparable harm to these youth.



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                                       PRAYER FOR RELIEF

  WHEREFORE, Plaintiff John Doe 4, on his own behalf and on behalf of the class he seeks to

  represent, respectfully requests that the Court:

         a. Declare that the acts and omissions of the Defendant as alleged in this Second

             Amended Complaint violate the Constitution and laws of the United States;

         b. Enter a preliminary and permanent injunction requiring the Defendant, its agents,

             employees and all persons acting in concert with or on behalf of the Defendant to

             cease their unconstitutional and unlawful practices;

         c. Allow, upon appropriate motion, the substitution of Doe 4 in place of John Does 1, 2

             and 3 as representative of the Class certified by this Court pursuant to Fed.R.Civ.P.

             23(a) and 23(b)(2);

         d. Designate undersigned counsel as attorneys for the certified class;

         e. Award to the Plaintiff and class members reasonable costs and attorney's fees; and

         f. Grant the Plaintiff and all members of the class all such other further relief as the

             Court deems just.

                                           JURY DEMAND

                 Plaintiff demands trial by jury for all claims which may be so tried.


         Dated: July 11, 2018                   Respectfully submitted,

                                                By: /s/ Hannah M. Lieberman
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of July, 2018, I electronically filed the foregoing

  document with the Clerk of Court using the CM/ECF system which will then send a notification

  of such filing (NEF) to the following counsel of record:

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